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    7                              UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
    8                                       AT TACOMA

    9   VERSANT FUNDING LLC, a Delaware            Case No.
        Limited Liability Company,
   10
                     Plaintiff,                    COMPLAINT
   11

   12         v.

   13   TERAS BREAKBULK OCEAN
        NAVIGATION ENTERPRISES LLC
   14   f/k/a TERAS BBC OCEAN
        NAVIGATION ENTERPRISES
   15
        HOUSTON, LLC, TERAS CARGO
   16   TRANSPORT (AMERICA), LLC,
        TERAS CHARTERING, LLC d/b/a
   17   TERAS BBC CHARTERING, LLC each
        a Delaware Limited Liability Company
   18   and SONNY JOE SANDERS,
   19
                     Defendants.
   20

   21

   22                                        COMPLAINT
   23         Plaintiff, VERSANT FUNDING LLC (hereinafter “Plaintiff” or “Versant”), by and
   24
        through its undersigned counsel, for its Complaint against Defendant Teras Breakbulk Ocean
   25
        Navigation Enterprises LLC f/k/a Teras BBC Ocean Navigation Enterprises Houston, LLC,
   26
        ("Teras BBC"), Teras Cargo Transport (America), LLC (“Teras America”) and Teras
   27
   28
         COMPLAINT - 1                                                              Klinedinst PC
                                                                       801 Second Ave., Ste. 1110
                                                                               Seattle, WA 98104
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    1   Chartering, LLC d/b/a Teras BBC Chartering, LLC (“TChart” and together with Teras BBC
    2   and Teras America, collectively “Teras”) and defendant Sonny Joe Sanders (“Sanders” and
    3
        together with Teras, the “Defendants”), respectfully alleges as follows:
    4
                                       NATURE OF THE ACTION
    5

    6          1.     This is an action (a) to collect the sum of $2,943,581.97 from Teras which sum

    7   is due and owing from Teras to Versant pursuant to a certain Factoring Agreement dated as
    8   of October 30, 2015 between Teras America and Versant, a certain Factoring Agreement
    9
        dated as of November 20, 2015 between Teras BBC and Versant and a certain Factoring
   10
        Agreement dated as of July 21, 2016 between TChart and Versant; (b) to collect the sum of
   11

   12   $2,943,581.97 from Sanders, as Guarantor of Teras BBC, Teras America and TChart’s

   13   collective obligations under the respective Factoring Agreements; and (c) to collect the sum
   14   of $1,186,721.63 against Teras due to its fraud.
   15
                                               THE PARTIES
   16
               2.     Plaintiff Versant is, and has been at all times relevant herein, a Delaware
   17

   18   limited liability company with offices at 2500 N. Military Trail, Suite 465, Boca Raton,

   19   Florida. Versant is owned by Argent Capital, LLC (“Argent”), which is a New Jersey
   20   Limited Liability Company. Argent has four members: Mark D. Weinberg, a resident of
   21
        Florida; Alison Weinberg Fahey, a California resident; Samantha Weinberg, a resident of
   22
        New York; and Jacob Weinberg, a Florida resident.
   23

   24          3.     Defendant Teras BBC is a limited liability company duly organized and

   25   existing pursuant to the laws of the State of Delaware, with a place of business located at
   26   5358 33rd Avenue, NW, Suite 302, Gig Harbor, Washington 98335.
   27
   28
         COMPLAINT - 2                                                                 Klinedinst PC
                                                                          801 Second Ave., Ste. 1110
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    1          4.      Defendant Teras America is a limited liability company duly organized and
    2   existing pursuant to the laws of the State of Delaware, with a place of business located at
    3
        5358 33rd Avenue, NW, Suite 302, Gig Harbor, Washington 98335.
    4
               5.      Defendant TChart is a limited liability company duly organized and existing
    5

    6   pursuant to the laws of the State of Delaware, with a place of business located at 5358 33rd

    7   Avenue, NW, Suite 302, Gig Harbor, Washington 98335.
    8          6.      Upon information and belief, Teras America wholly owns Teras BBC and
    9
        TChart.
   10
               7.      Upon information and belief, Teras America, LLC wholly owns Teras
   11

   12   America.

   13          8.      Upon information and belief, Teras Cargo Transport Pte. Ltd (“Teras Pte”) owns
   14   ninety seven percent (97%) of the shares of Teras America, LLC, and a foreign corporation,
   15
        Nova Synpac (PVT) Ltd., owns three percent (3%) of the shares of Teras America, LLC.
   16
               9.      Upon information and belief, Teras Pte. is a Singapore Company with a principal
   17
        place of business located in Singapore.
   18

   19          10.     Upon information and belief, Nova Synpac (PVT) Ltd. is a Pakistani company

   20   with a principal place of business located in Pakistan.

   21          11.     Upon information and belief, Sonny Joe Sanders owns eighty point one percent
   22
        (80.1%) of the stock of Teras Pte and another Singapore company, Ezion Holdings Limited,
   23
        owns nineteen point nine percent (19.9%) of the stock of Teras Pte.
   24
               12.     Defendant Sanders is an individual residing at 828 Leschi Way, Fox Island,
   25

   26   Washington 98333 who executed three (3) Performance Guaranties dated November 2, 2015,

   27   November 20, 2015 and July 21, 2016 pursuant to which he guaranteed the obligations of
   28
         COMPLAINT - 3                                                                     Klinedinst PC
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    1   Teras, including the obligations sued upon herein. Upon information and belief, Mr. Sanders
    2   is the Chief Executive Officer and Director of Teras Pte and an officer of Teras America.
    3
                                        JURISDICTION AND VENUE
    4
                 13.     Jurisdiction of this Court over Plaintiff’s claims is properly invoked under 28
    5

    6   U.S.C. §1332 as the amount in dispute exceeds $75,000 and the controversy is between

    7   citizens of different States and in which citizens or subjects of a foreign state are additional
    8   parties.
    9
                 14.     Venue is proper within this district pursuant to 28 U.S.C. §1391(b) in that “a
   10
        substantial part of the events or omissions giving rise to the claim occurred” within this
   11

   12   judicial district.

   13                                     FACTUAL BACKGROUND
   14       I.         TERAS AND VERSANT ENTER INTO A FACTORING AGREEMENT
   15
                 15.     Factoring is a type of financing characterized by the purchasing of acceptable
   16
        accounts receivable by a factor, in this case on a non-recourse, notification basis. Factoring
   17

   18   services are most typically sought out by companies without access to more traditional

   19   sources of credit to meet cash flow needs. As a result, the capital available to such businesses
   20   must often be obtained at higher rates and under stricter terms.
   21
                 16.     Versant provides factoring services to its clients. Versant purchases certain of
   22
        its clients’ approved accounts receivable in exchange for a negotiated amount based upon the
   23

   24   length of time it takes to collect each account. Versant is then responsible for collecting the

   25   receivables, and the net balance of its collections are then remitted to its clients after any
   26   proper deductions taken by the account debtors and the fees and other amounts due to
   27
        Versant.
   28
         COMPLAINT - 4                                                                   Klinedinst PC
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    1          17.    Upon information and belief, Teras Pte is an owner/operator of project and
    2   heavy lift ships specializing in US cargo preference shipping services supporting US
    3
        manufacturers, the US military and other government agencies.
    4
               18.    Upon information and belief, Teras Pte conducts all of its business in the
    5

    6   United States through Teras America as its agent, or through subsidiaries of Teras America.

    7          19.    On or about November 20, 2015, Versant, as purchaser, and Teras BBC, as
    8   seller, entered into a certain Factoring Agreement (the “Factoring Agreement”), for an initial
    9
        term of two (2) months with automatic renewals, whereby Versant would, from time to time,
   10
        purchase certain accounts receivable of Teras BBC, pursuant to separate purchase and sale
   11

   12   agreements to be executed by the parties. Teras BBC was, at all times relevant hereto, in the

   13   business of providing charters in the shipping business. A true and correct copy of the
   14   Factoring Agreement is attached hereto as Exhibit A.
   15
               20.    Simultaneous, and in conjunction, with the execution of the Factoring
   16
        Agreement, Versant and Teras BBC entered into a certain Security Agreement, dated
   17

   18   November 20, 2015 (the “Security Agreement”), whereby Teras BBC granted a blanket

   19   security interest in and to the assets of Teras BBC including, but not limited to, all accounts
   20   as defined in Section 9-106 of the Uniform Commercial Code. The purpose of the Security
   21
        Agreement and UCC-1 filings pursuant thereto was to secure Versant in the event of a
   22
        default by Teras BBC under the Factoring Agreement and to provide notice of the existence
   23

   24   of Versant's lien. A true and correct copy of the Security Agreement is attached hereto as

   25   Exhibit B.
   26
   27
   28
         COMPLAINT - 5                                                                 Klinedinst PC
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                                                                                  Seattle, WA 98104
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    1          21.    In connection with the execution of the Factoring Agreement, defendant
    2   Sanders executed a certain Performance Guaranty, dated November 20, 2015, (the
    3
        “Guaranty”) which provides, in part:
    4
                      Guarantor hereby irrevocably and unconditionally guarantees
    5                 (a) the due and punctual performance by the Company of the
    6                 Representations, (b) the payment (and not merely the
                      collectibility) of any loss, liability, or expense incurred by
    7                 Versant in the event any of the Representations are untrue in any
                      respect or fail to be performed, and (c) the payment (and not
    8                 merely the collectibility) of any other obligation owed by the
    9                 Company to Versant of any nature that arises hereafter under the
                      Factoring Agreement or any Account Agreement or pursuant to
   10                 any modification or amendment thereof (the "Guaranteed
                      Obligations"). . . If the Company, or any of its successors and
   11                 assigns, shall fail to perform all or any of the Representations
   12                 and/or fail to duly and punctually pay the amounts set forth in
                      subdivisions (a), (b), and (c) above, or any of them, Guarantor
   13                 shall forthwith pay the same on demand.
   14   A true and correct copy of the Performance Guaranty is attached hereto as Exhibit C.
   15
               22.    Defendants Teras America and TChart each entered into a factoring agreement
   16
        and a security agreement with Versant on or about July 21, 2016, and October 30, 2015,
   17

   18   (respectively Exhibits D & E, collectively with Exhibit A as the “Three Factoring

   19   Agreements”), which cross collateralized all obligations of Teras BBC with Teras America
   20   and TChart.      The July 21, 2016 Factoring Agreement between TChart and Versant
   21
        specifically provided for the “combined delivery” by TChart “and its sister companies,”
   22
        Teras America and Teras BBC, of “not less than $7,500,000 of Accounts Receivable” during
   23

   24   each specified Term Period, as explained further below. As a result of the Three Factoring

   25   Agreements, each of the Teras entities became responsible to Versant for any breach by any
   26   of its “sister companies” of any obligation owed to Versant.
   27
   28
         COMPLAINT - 6                                                                Klinedinst PC
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    1          23.    In addition, Sanders executed a Performance Guaranty on November 20, 2015
    2   and a third Performance Guarantee on July 21, 2016 guaranteeing the obligations of Teras
    3
        America and TChart respectively.      A copy of the cross collateralization agreements is
    4
        attached hereto as Exhibit F, and copies of the two additional Sanders Performance
    5

    6   Guaranties are attached hereto as Exhibit G.

    7          24.    Pursuant to Paragraph 6 of the Factoring Agreement, Teras BBC also agreed
    8   to:
    9
                      [P]ay or reimburse Versant for all its costs and expenses
   10                 incurred in connection with the enforcement or preservation of
                      any rights under this Factoring Agreement, the Security
   11                 Agreement, the Account Agreements and such other documents,
   12                 and the verification of the Accounts Receivable and the
                      creditworthiness of the Account Debtors, including, without
   13                 limitation, fees and disbursements of counsel to Versant. . . .
   14                 II.   TERAS FRAUDULENTLY INDUCED VERSANT TO
   15                       ADVANCE $1,050,000 TO PURCHASE AN INVOICE

   16          25.    Pursuant to the Factoring Agreement and a purchase and sale agreement dated

   17   August 29, 2016 (“PSA,” attached hereto as Exhibit H), Versant purchased an account
   18
        receivable represented by Teras BBC to be due and payable from its customer, Military
   19
        Sealift Command (“MSC”) (a department of the United States Government), to Teras BBC,
   20
        in the amount of $1,400,000.00 (the “Charter Fee”).
   21

   22          26.    This account receivable was generated pursuant to a contract between Teras

   23   BBC and MSC.
   24
               27.    Both Teras BBC and the agent for Teras BBC handling the charter with MSC
   25
        misrepresented to Versant that Teras BBC had earned the amount of the Charter Fee in full
   26
        upon the commencement of the sailing of the ship (Seattle) from the port of Shualba, Kuwait
   27
   28
         COMPLAINT - 7                                                              Klinedinst PC
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                                                                               Seattle, WA 98104
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    1   to Sunny Point, North Carolina. These representations were false, and were known to be
    2   false when issued. As Versant later learned, MSC only was required to pay the Charter Fee
    3
        upon the timely arrival of the ship in Sunny Point, North Carolina.
    4
               28.    Based upon these false misrepresentations, Versant agreed to purchase the
    5

    6   $1,400,000.00 account receivable.

    7          29.    Teras had superior knowledge with respect to its misrepresentations regarding
    8   when the fee was earned and knew that Versant was relying upon the accuracy of the
    9
        information provided by Teras. Typically, Versant only purchases a receivable of this size
   10
        upon the account debtor confirming in a signed writing that the amount reflected on the
   11

   12   invoice was earned and the account debtor agreeing to pay Versant directly in full without

   13   offset or deduction. However, Versant understood that MSC would not deal with Versant
   14   directly due to the nature of MSC’s secret military operations, and Teras persuaded Versant
   15
        to rely upon the accuracy of its representations instead.
   16
               30.    Pursuant to paragraph 2 of the Factoring Agreement, Versant was required to
   17

   18   advance to Teras BBC seventy-five percent (75%) of the face amount of the accounts

   19   receivable purchased.
   20          31.    On August 29, 2016, Versant wired $1,050,000 to Teras BBC.
   21
               32.    Upon information and belief, somewhere along the journey from Kuwait to
   22
        Sunny Point, North Carolina, the Seattle broke down and as a result of the failure of the
   23

   24   Seattle to arrive in a timely fashion in Sunny Point, North Carolina, the contract was

   25   cancelled and no portion of the Charter Fee was paid.
   26          33.    Teras did not disclose to Versant that there was a mechanical failure with the
   27
        Seattle until October 31, 2016.
   28
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    1            34.   To date, Teras has not repaid the $1,050,000 to Versant.
    2            35.   The PSA contained a Fee and Reimbursements schedule which provided a fee,
    3
        described as a discount, to be earned by Versant for factoring the invoice. Versant’s fee
    4
        equaled a percentage of the amount of the invoice and increased based upon the length of
    5

    6   time that the invoice remained outstanding. Where, as was the case here, the invoice was not

    7   collected for more than ninety days, Versant’s fee equaled fifteen percent (15%) of the
    8   $1,400,000 invoice amount, or two hundred and ten thousand dollars ($210,000)(“Factoring
    9
        Fee”).
   10
                 36.   Accordingly, Teras BBC owes to Versant, arising out of the purchase of the
   11

   12   invoice representing the Charter Fee, the amount of the $1,050,000.00 advance plus the

   13   Factoring Fee, and another $1,721.63 in miscellaneous expenses totaling $1,261,721.63.
   14            37.   On or about November 29, 2016, MSC did pay seventy-five thousand dollars
   15
        ($75,000) to Teras for services that Teras had performed on an entirely unrelated, prior
   16
        contract. However, as Teras had assigned to Versant the proceeds of the account in which
   17

   18   the seventy-five thousand dollar payment was deposited, Versant received those proceeds.

   19            38.   Accordingly, the net amount owed to Versant just from the Charter Fee is
   20   $1,186,721.63.
   21
                             III. VERSANT IS ENTITLED TO RECOVER
   22                             “NO DELIVERY FEES” FROM TERAS
   23            39.   Teras also owes “No Delivery Fees” to Versant in the amount of
   24
        $1,757,259.34 pursuant to Paragraph 9 of the Factoring Agreement.
   25
                 40.   The “No Delivery Fee” is designed to replicate the minimum fee Versant was
   26
        expecting to earn, and the minimum fee that Teras agreed to pay, for the delivery of the
   27
   28
         COMPLAINT - 9                                                                 Klinedinst PC
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    1   minimum amount of accounts receivable due under the agreement by taking into
    2   consideration Teras’ minimum commitment to sell accounts receivable and the actual
    3
        performance of the client’s accounts receivable during the relevant period.
    4
               41.    Specifically, pursuant to Paragraph 9 of the Factoring Agreement, Teras
    5

    6   agreed (a) to deliver to Versant pursuant to the Factoring Agreement not less than

    7   $7,500,000.00 per sixty (60) day period of approved accounts receivable and (b) that if Teras
    8   failed to deliver at least that amount of approved accounts receivable, Versant would be
    9
        entitled to a “No Delivery Fee,” as defined in the Factoring Agreement.
   10
               42.    Paragraph 9 of the Factoring Agreement states in relevant part:
   11

   12                 The fee to be earned by Versant for the Purchase of the
                      Accounts Receivable from Seller, as set forth in the Fee and
   13                 Reimbursements Schedule attached to the Account Agreements
                      (the “Fee”), has been established after negotiation between the
   14                 parties based upon the combined delivery by Seller and its sister
   15                 company, Teras Cargo Transport (America), LLC, of not less
                      than $7,500,000.00 of approved Accounts Receivable (the “Bi-
   16                 Monthly Base Sales Amount”) to Versant during each 60 day
                      period (a “Term Period”) of the Scheduled Term or Rescheduled
   17                 Term, as applicable. Seller expressly acknowledges that
   18                 Versant has agreed to the Fee in reliance upon Seller’s
                      agreement during each Term Period to deliver at least the Bi-
   19                 Monthly Base Sales Amount and that Versant would have
                      required an increased Fee in the event a lesser volume of
   20                 approved Accounts Receivable had been agreed to in any Term
   21                 Period.

   22
               43.    Paragraph 9 also contains a formula by which the “No Delivery Fee” shall be
   23

   24   computed in the event that Teras failed to satisfy the Bi-Monthly Base Sales Amount during

   25   each term period.
   26          44.    The “No Delivery Fee” provision was intended to compensate Versant for
   27
        committing its financial and personnel resources to the purchase of at least the minimum
   28
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    1   amount of receivables agreed to by Teras, apportioning the staff to service the account, and
    2   ensuring the availability of funds.
    3
               45.    In the case of Teras, this was no small commitment given that Versant was
    4
        committing to Teras to purchase and to expeditiously service and collect upon, at a
    5

    6   minimum, $7.5 million of approved accounts receivable per Term Period for which the

    7   Factoring Agreement remained in effect.
    8          46.    Teras extensively negotiated the “No Delivery Fee” with Versant.
    9
               47.    Marc G. Marling (“Marling”), a licensed attorney who then had served as the
   10
        President of Teras America and as the Inside Director of Teras BBC, principally negotiated
   11

   12   the “No Delivery Fee” provision with Versant.

   13          48.    When negotiating the “No Delivery Fee” provision, Marling consulted with
   14   Teras’s in-house general counsel, who also reviewed the agreements.
   15
               49.    As a sophisticated party, Teras requested that Versant modify the terms of the
   16
        “No Delivery Fee” provision. Specifically, Teras requested that the Factoring Agreement
   17

   18   provide for a Term Period of sixty days, which was much shorter than the typical timeframe

   19   contained in Versant’s other factoring agreements. Teras also advised that the minimal
   20   amount of Accounts Receivable to be delivered during each Term Period should be in the
   21
        amount of $7,500,000. Thus, Teras, through sophisticated lawyers, negotiated the terms by
   22
        which Versant was obligated to provide financing to Teras.
   23

   24          50.    Paragraph 8 of the Factoring Agreement provides that the Factoring

   25   Agreement automatically renews from year to year unless Teras BBC delivers written notice
   26   of cancellation to Versant. No such notice was received and thus the Factoring Agreement
   27
        has renewed as provided for in the Factoring Agreement.
   28
         COMPLAINT - 11                                                              Klinedinst PC
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    1          51.       Teras has ceased and failed to deliver the minimum bi-monthly amount of
    2   approved accounts receivable invoices to Versant in each of the sixty (60) day periods except
    3
        one, and is thus obligated to pay a “No Delivery Fee” as provided under the Factoring
    4
        Agreement, as follows:
    5

    6                          Actual         Shortfall     Minimum      Actual Fees    Shortfall
                           Receivables Sold                  Monthly        Paid          Fees
    7     11/15 -12/15           $5,153,400   $2,346,600    $7,500,000      $248,435       $113,125
          1/16 – 2/16            $2,155,404    $5,344,595   $7,500,000       $52,990         $131,396
    8     3/16 – 4/16            $8,240,033    ($740,033)   $7,500,000
          5/16 -6/16             $1,915,303    $5,584,696   $7,500,000       $77,020        $224,577
    9     7/16 – 8/16            $4,331,401    $3,168,598   $7,500,000      $335,971        $245,776
          9/16 – 10/16            $870,000     $6,630,000   $7,500,000       $23,229        $177,021
   10     11/16- 12/16                   0     $7,500,000   $7,500,000             *        $432,681
          1/17 – 2/17                    0     $7,500,000   $7,500,000             *        $432,681
   11       TOTAL              $22,665,543    $37,334.456      $60,000      $301,426       $1,757,259
   12
        *based upon average discount rate over course of relationship where no accounts receivable
   13   sold in a period.
   14          52.       Upon information and belief, Teras made the tactical decision not to terminate
   15
        the Factoring Agreement before November 2016 as part of a desperate effort to forestall
   16
        Versant from taking action with respect to the Charter Fee. On October 31, 2016, Teras first
   17

   18   disclosed to Versant that there was a mechanical failure with the Seattle, even though, upon

   19   information and belief, Teras knew long before that date that Teras would not earn the
   20   Charter Fee. Subsequently, Teras misrepresented to Versant that Teras would reimburse to
   21
        Versant the amount advanced by it, along with its factoring fee, through insurance proceeds.
   22
        Yet, Versant later learned from a third-party that Teras had surrendered ownership of the
   23

   24   Seattle involuntarily to a third-party, and that no insurance proceeds would be available to

   25   Teras. Similarly, Teras also assured Versant that Teras would make up the Charter Fee to
   26   Versant on the next charter, without disclosing the loss of the Seattle.
   27
   28
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    1          53.     Pursuant to the terms of each of the Three Factoring Agreements, Teras is
    2   contractually obligated to pay to Versant the agreed-upon fees for each of such periods in
    3
        which a shortfall occurred as well as for the remainder of the term of the Three Factoring
    4
        Agreements. The total amount of which is due, unpaid and owing in the amount of
    5

    6   $1,757,259.34.

    7                                       FIRST COUNT
                                       VERSANT AGAINST TERAS
    8                                     (Breach of Contract)
    9
               54.     Versant repeats and realleges each and every allegation set forth above as if set
   10
        forth at length herein.
   11
               55.     Teras breached the Factoring Agreement and the PSA relating to the Charter
   12

   13   Fee.

   14          56.     Specifically, Paragraph 2 of the PSA, titled Seller’s Representations, states
   15
        that the “Seller represents, warrants and covenants to Versant that:
   16
                       (b)     Each Account Receivable is for the amount stated on
   17                  Schedule A and is/are due and payable in accordance with
                       its/their terms and there are no set-offs, deductions, discounts,
   18
                       reductions, disputes, contingencies or counterclaims against
   19                  Seller on any of the Accounts Receivable (collectively, a
                       “Chargeback”).
   20
                       (c)    The full amount of the Accounts Receivable is current
   21
                       and presently due and owing to Seller, payment is not
   22                  contingent upon fulfillment of any other obligation at any time.
                       Furthermore, the prices and terms of shipment conform in all
   23                  material respects to the terms of any related purchase order or
                       agreement with the Account Debtor.”
   24

   25          57.     Teras breached these Representations with respect to the Charter Fee by

   26   misrepresenting that Teras had earned the fee at the time that the Seattle set sail, and that
   27
   28
         COMPLAINT - 13                                                                 Klinedinst PC
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    1   Teras’s right to collect the fee was not contingent upon another event, such as timely
    2   delivering of the ship to North Carolina.
    3
               58.      Further, paragraph 3 of the PSA provides that Versant can seek recourse
    4
        against Teras for the Advance Amount if any of the representations set forth in paragraph 2
    5

    6   were false, or if there were a reduction in the amount paid on an Account Receivable due to a

    7   performance defense.
    8          59.      Accordingly, as set forth above, Teras owes to Versant, arising out of the
    9
        Charter Fee, contractual fees, advances, expenses and obligations in the amount of
   10
        $1,186,721.63
   11

   12          60.      Further, as set forth above, Teras failed to deliver the minimum bi-monthly

   13   amount of approved accounts receivable invoices to Versant in each of the sixty (60) day
   14   periods except one, as required by the terms of each of the Three Factoring Agreements.
   15
        Consequently, Teras is liable to Versant in the additional amount of $1,757,259.34.
   16
               61.      As a direct result of (a) Teras’s obligations under the Three Factoring
   17

   18   Agreements to deliver a minimum amount of Accounts Receivable and (b) breach of certain

   19   representations set forth in the Purchase and Sale Agreement, Versant has been damaged in
   20   the amount of $2,943,581.97, plus any and all legal fees and other costs of collection, along
   21
        with prejudgment interest.
   22
                                              SECOND COUNT
   23                                 VERSANT AGAINST SANDERS
   24                                (Breach of Performance Guarantees)

   25          62.      Versant repeats and realleges each and every allegation set forth above as if set

   26   forth at length herein.
   27
   28
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    1          63.     Defendant Sanders is obligated, pursuant to three separate Performance
    2   Guaranties, to make any payments to Versant which defendant Teras BBC, Teras America or
    3
        TChart is obligated, but fails, to pay.
    4
               64.     On December 29, 2016, Versant demanded that Sanders, pursuant to his
    5

    6   Performance Guarantees, pay to Versant the amount of $2,943,581.97, plus any and all legal

    7   fees and other costs of collection, along with prejudgment interest. Versant reiterated in multiple

    8   other demands with Sanders’ counsel that Sanders pay to Versant the $2,943,581.97 that Teras
    9
        owes to Versant.
   10
               65.     Sanders has refused to make any payments to Versant.
   11
               66.     Due to Sanders’ breach of his Performance Guaranties, Versant has been
   12

   13   damaged in the amount of $2,943,581.97, plus any and all legal fees and other costs of

   14   collection, along with prejudgment interest.
   15                                       THIRD COUNT
   16                                   VERSANT AGAINST TERAS
                                                (Fraud)
   17
               67.     Plaintiff repeats, reiterates and realleges each and every allegation set forth
   18
        above as if fully set forth herein.
   19
   20          68.     Teras fraudulently induced Versant to purchase the Charter Fee invoice.

   21          69.     Teras knowingly made false affirmative misrepresentations and intentional
   22
        omissions of material fact to induce Versant to purchase the Charter Fee invoice.
   23
               70.     Teras had a duty to disclose the material facts concealed from Versant because
   24
        Teras: i) had superior knowledge with respect to the representations and ii) knew that their
   25

   26   representations to Versant were materially misleading absent the omitted information. Teras

   27
   28
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    1   also knew that Versant would not and could not reach out to the Account Debtor (MSC) due
    2   to the top secret character of their relationship.
    3
               71.     Teras represented to Versant that the full amount of $1,400,000.00 was due
    4
        and owing by MSC to Teras upon the commencement of the sailing of the Seattle from
    5

    6   Kuwait to North Carolina when Teras knew that if the Seattle did not arrive in Sunny Point,

    7   North Carolina by a date certain that no portion of the Charter Fee would be paid.
    8          72.     Each of the misrepresentations was made by employees and/or agents of each
    9
        the Teras entities.
   10
               73.     Teras knew each of the misrepresentations to be false when made.
   11

   12          74.     Teras made material misrepresentations and omissions of facts to Versant

   13   which were reckless as to their veracity, were made with gross disregard as Versant’s
   14   reliance upon them, and Versant did justifiably rely upon them.
   15
               75.     Versant reasonably relied on these misrepresentations and omissions in
   16
        purchasing the Charter Fee invoice.
   17

   18          76.     By reason of the above, Versant is entitled to an award of compensatory

   19   damages in an amount to be determined at trial.
   20          WHEREFORE, Versant demands judgment be entered against defendants Teras
   21
        BBC, Teras America, TChart and Sanders, as follows:
   22
               A.      For compensatory damages in an amount to be determined at trial;
   23

   24          B.      For punitive damages on the Third Count in an amount to be determined at
                       trial;
   25
               C.      For prejudgment interest at the rate of 12% per year pursuant to RCW
   26                  19.52.010;
   27
   28
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    1         D.    For costs of suit and attorneys' fees pursuant to the Factoring Agreement and
                    Guaranties; and
    2

    3         E.    For such other relief as the Court may deem just and equitable.

    4

    5         DATED: April 14, 2017
    6                                           KLINEDINST PC
    7
                                                By: s/ Gregor A. Hensrude
    8                                              Gregor A. Hensrude, WSBA #45918

    9                                           By: s/ Anthony C. Soldato
                                                   Anthony C. Soldato, WSBA #46206
   10

   11                                               801 Second Ave., Ste. 1110
                                                    Seattle, WA 98104
   12                                               Tel: (206) 682-7701
                                                    Fax: (206) 682-7449
   13                                               Email:     ghensrude@klinedinstlaw.com
                                                               asoldato@klinedinstlaw.com
   14

   15                                               -and-

   16                                               KAGEN & CASPERSEN PLLC

   17                                               By: s/ Russell L. Bogart
                                                        Russell L. Bogart, pro hac vice pending
   18
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   19                                                   New York, NY 10022
                                                        Tel: (212) 880-2045
   20                                                   Fax: (212) 646-7879
                                                        Email: rbogart@kagencaspersen.com
   21
                                                Attorneys for Plaintiff VERSANT FUNDING LLC
   22

   23

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   28
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                                                                               Seattle, WA 98104
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    1
            EXHIBIT DESCRIPTION
    2
               A    November 20, 2015 Factoring Agreement pursuant to Versant as
    3               purchaser, and Teras BBC, as seller
    4          B    November 20, 2015 Security Agreement between Teras and Versant
               C    November 20, 2015 Performance Guaranty between Versant and
    5               Sanders
    6          D    July 21, 2016 Factoring Agreement between Versant and TChart and
                    July 21, 2016 Security Agreement between Versant and TChart
    7
               E    October 30, 2015 Factoring Agreement between Versant and Teras
    8               America and October 30, 2015 Security Agreement between Versant and
                    Teras America.
    9          F    Cross Collateralization Agreements
   10          G    Additional Sanders Performance Guarantees
               H    August 29, 2016 Purchase and Sale Agreement
   11

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        16945002v1
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         COMPLAINT - 18                                                       Klinedinst PC
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                                                                         Seattle, WA 98104
